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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MIN MYOSHA,                       )
                                  )
            Plaintiff,            )
                                  )
      vs.                         )                   Case No. 18-cv-08059
                                  )
FIRST NATIONAL COLLECTION         )                   Honorable Robert W. Gettleman
BUREAU, INC., LVNV FUNDING LLC, )
RESURGENT CAPITAL SERVICES, L.P., )
and ALEGIS GROUP, LLC,            )
                                  )
            Defendants.           )

                          MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, attorney Nicole M. Strickler (the “Petitioner”), for Defendant First National Collection

Bureau, Inc., Defendant LVNV Funding LLC, Defendant Resurgent Capital Services, L.P., and

Defendant Algeis Group, LLC (collectively, the “Defendants”), respectfully moves this Court to

enter an Order granting Petitioner leave to withdraw as Counsel for Defendants, and in support of

this Motion states as follows:

       1. The Petitioner is an attorney of record for the Defendants in this matter. Petitioner

           entered her appearance on the matter on January 2, 2019.

       2. An “attorney seeking to withdraw must establish that his client consents or that a valid

           and compelling reason exists for the court to grant the motion over an objection.”

           Stafford v. Mesnik, 63 F.3d 1445, 1448 (7th Cir. 1995) (emphasis added).

       3. Defendants retained new counsel, Robbie Malone of Malone and Martin PLLC, who

           has her appearance on file, and as such, Petitioner will be no longer representing

           Defendants in this matter.

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       4. Petitioner respectfully requests that she be granted leave to withdraw as Counsel for

           the Defendants.

       5. Notice and this Motion for Leave to Withdraw as Counsel have been directed to

           Plaintiff and Defendants’ counsel of record.

       6. This motion is made for good cause, not meant for purposes of unnecessary delay and

           will not prejudice any party in the litigation.

       WHEREFORE, Nicole M. Strickler respectfully requests that this Court grant her Motion

for Leave to Withdraw as Counsel and for such other relief as this Court deems just.


                                              Respectfully Submitted,

                                              NICOLE M. STRICKLER

                                              By: /s/ Nicole M. Strickler
                                              Nicole M. Strickler
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                              CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2019, I electronically filed the foregoing with the Clerk

of the District Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.



                                              By: /s/ Nicole M. Strickler
                                              Nicole M. Strickler
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